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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

                                                            )
In re:                                                      )    Chapter 11
                                                            )
WESTWIND MANOR RESORT                                       )    Case No. 19-50026 (___)
ASSOCIATION, INC., et al.,1                                 )
                                                            )    Joint Administration Requested
                                   Debtors.
                                                            )

                DECLARATION OF JEREMY ROSENTHAL IN SUPPORT OF
               DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY RELIEF

         I, Jeremy Rosenthal, pursuant to section 1746 of title 28 of the United States Code,

hereby declare that the following is true to the best of my knowledge, information and belief:

         1.       I am the Chief Restructuring Officer of Warrior Custom Golf, Inc. (“Warrior

Custom Golf”), Warrior Acquisitions LLC (“Warrior Acquisitions”) and Westwind Manor

Resort Association Inc. (“Westwind”) (collectively, the “Lead Debtors”). In that capacity, I

oversee the financial management of Warrior Custom Golf, Warrior Acquisitions and the

affiliated entities managed by Warrior Acquisitions that are also debtors in the above-captioned

chapter 11 cases (together with Warrior Custom Golf and Warrior Acquisitions, the “Debtors”).

An organizational chart of the Debtors (the “Organizational Chart”) is attached hereto as

Exhibit A.

         2.       I submit this declaration (this “Declaration”) in support of the Debtors’ voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) and the various motions filed on the date hereof (the “Petition Date”) seeking various

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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Westwind Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC
(9919); Warrior Golf Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets LLC
(1639); Warrior Golf Venture, LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC (4207);
and Warrior Custom Golf, Inc. (2941). The address of the Debtors’ corporate headquarters is 15 Mason, Suite A,
Irvine, California 92618.



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types of “first day” relief (collectively the “First Day Motions”). The First Day Motions seek

relief to allow the Debtors to meet necessary obligations and fulfill their duties as debtors-in-

possession and minimize the adverse effects of the chapter 11 filings on their businesses. I am

familiar with the contents of each First Day Motion and believe the relief sought therein is (i)

necessary to enable the Debtors to operate their businesses during the pendency of these cases

(the “Chapter 11 Cases”) with minimal disruption or loss of productivity and value, (ii) are

critical to achieving a successful restructuring of the Debtors’ financial affairs, and (iii) are in the

best interests of the Debtors, their estates and all stakeholders. The facts set forth in each of the

First Day Motions are incorporated herein by reference.

         3.       I, along with my firm, Force Ten Partners, LLC (“Force 10”) have been the

financial advisor for the Debtors since February 18, 2019 and the Chief Restructuring Officer of

the Lead Debtors since March 3, 2019. I am not a member of the board of directors of any of the

Debtors and I am not an owner of any of the Debtors. I am a partner with Force 10. Before

joining Force 10, I practiced law in the areas of bankruptcy and financial restructuring for over

16 years and have represented debtors, creditors and other parties-in-interest in bankruptcy cases.

I have considerable experience and knowledge of the business and legal issues surrounding

insolvency, reorganizations, liquidations, and related matters, including investigating the

circumstances contributing to a debtor’s financial distress.

         4.       Since my appointment as Chief Restructuring Officer of the Lead Debtors, I have

attempted to become familiar with the Debtors’ day-to-day operations, books and records and

financial affairs. In view of my recent appointment, my investigation of the Debtors’ operational

history, current business activities, capital structure and organizational documents is ongoing and

my knowledge and understanding of those areas is evolving. Except as otherwise indicated, the



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facts set forth in this Declaration are based on:       (a) personal knowledge of the Debtors’

businesses, employees, operations, and finances that I have obtained in my short time as first

financial advisor and then Chief Restructuring Officer; (b) information learned from my review

of relevant documents; (c) my discussions with members of the Debtors’ senior management and

other professionals; (d) information provided to me by Force 10 personnel working under my

supervision; and (e) or my opinion based upon experience, knowledge, and information

concerning the Debtors’ operations and financial condition. If called upon to testify, I would

testify competently to the facts set forth in this Declaration and the First Day Motions. I am

authorized to submit this Declaration on the Debtors’ behalf.

         5.       This Declaration is intended to provide a summary overview of the Debtors’

businesses and the need for their restructuring under chapter 11 of the Bankruptcy Code. The

Declaration has been organized into five sections. Section one provides an overview of the

Debtors’ business. Section two describes the ownership of the Debtors. Section three describes

the Debtors’ pre-petition capital structure. Section four describes the events leading to the filing

of the Chapter 11 Cases and objectives of the cases. Finally, section five describes the relief

requested in the First Day Motions and the basis for that requested relief.

I.       The Debtors’ Business

A.       General Overview of the Debtors’ Business

         6.       The Debtors operate two (2) distinct business segments. Warrior Custom Golf

focuses on the manufacture and sale of custom golf clubs. Warrior Acquisitions manages

affiliates, like Warrior Golf, LLC (“Warrior Golf”), that own and manage golf courses. Warrior

Custom Golf was founded in 1998 by Brendan Flaherty (“Flaherty”). It develops, manufactures

markets and sells affordable custom golf clubs and related equipment to golfers worldwide.

Warrior Custom Golf’s products are custom built to the specifications of each customer.

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Potential customers are generally identified through direct response advertising, including

television and direct mail advertising. Warrior Custom Golf also identifies customers and sells

its products through its website, www.warriorcustomgolf.com.

         7.       The second business segment revolves around Warrior Acquisitions. Warrior

Acquisitions is the manager of six (6) entities that own and operate 18 golf courses and parcels

of land located throughout the United States. Warrior Acquisitions’ courses (i.e. those under its

indirect management) serve their local communities and are located in secondary and tertiary

markets.

         8.       Both segments of the business are headquartered in Irvine, California. Warrior

Custom Golf employs approximately 70 individuals, including a team of master golf club

builders, customer service representatives and sales personnel.         Since the inception of its

business, Warrior Custom Golf has generated over $270 million in sales to approximately

1.3 million customers. Warrior Custom Golf’s revenue has fluctuated significantly over the past

several years, but it generally has annual revenue of over $15 million.

         9.       Warrior Acquisitions employs approximately 270 individuals, including course

general managers, food and beverage staff, retail sales staff, grounds keepers and golf

instructors. Warrior Acquisitions’ managed courses generated approximately 267,500 rounds of

golf in 2018.           Its 18 courses are located throughout California, Florida, Colorado, Iowa,

Alabama, North Carolina, South Carolina, Tennessee and Georgia. At one point the Warrior

enterprise owned and managed 22 courses. Many of the golf courses have additional amenities

including golf pro shops, driving ranges, clubhouses, restaurants, bars, swimming pools, private

villas and banquet facilities. Warrior Acquisitions’ managed courses generated approximately




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$13 million in annual revenue over the past few years but generated an operating loss of

approximately $680,000 in 2018.

II.      The Debtors’ Corporate Structure

A.       The Custom Club Entities.

         10.      As set forth above, Warrior Custom Golf owns and operates the Debtors’ custom

golf club business. Warrior Custom Golf, a California corporation, is owned by 100% by

Flaherty . Before the Petition Date, Flaherty and Henry Wheelahan (a former equity holder) also

served as the sole members of Warrior Custom Golf’s board of directors. In contemplation of

the filing of the Chapter 11 Cases, however, the board of directors of Warrior Custom Golf was

reconstituted with three (3) independent directors –Russell F. Nelms (ret.), as Chairman, Kevin

Lantry and David Gordon.

B.       The Golf Course Entities

         11.      Warrior Acquisitions manages six (6) limited liability companies that in turn own

eighteen (18) golf courses and golf tracts. The sole member of Warrior Acquisitions is Flaherty.

Before the Petition Date, Flaherty also was the sole member of the board of managers of Warrior

Acquisitions.       In contemplation of the filing of the Chapter 11 cases, however, Flaherty

appointed three (3) independent managers – Russell F. Nelms (ret.), Kevin Lantry and David

Gordon – to serve as the board of managers of Warrior Acquisitions.

         12.      Warrior Golf, a Delaware limited liability company, is owned by Flaherty (99%)

and Warrior Custom Golf (1%). As of the Petition Date, Warrior Golf owns the following ten

(10) golf courses: (i) Reems Creek Golf Club in Weaverville, North Carolina; (ii) Heddles

Hideaway Golf Club in Spartanburg, South Carolina; (iii) Cimarron Golf Resort in Cathedral

City, California; (iv) Royal St. Augustine Golf Club in St. Augustine, Florida; (v) Asheboro

Country Club in Asheboro, North Carolina; (vi) Whispering Woods Golf Club in Whispering

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Pines, North Carolina; (vii) Baneberry Golf and Country Club in Baneberry, Tennessee; (viii)

Wolf Creek Golf Course in Atlanta, Georgia; (ix) King’s Creek Golf Club in Springhill,

Tennessee; and (x) Ole Still Golf Club in Hickory, North Carolina. Warrior Golf also holds a

note in the amount of approximately $400,000 related to the sale of its Nocona Hills Golf Club in

Nocona, Texas.

         13.      The remaining eight (8) properties are owned as follows: Warrior Acquisitions

owns Marion Oaks Golf Club and Huntington Golf Club in Ocala, Florida; Warrior Golf

Venture, LLC (“Warrior Golf Venture”) owns The Club at Rio Vista in Rio Vista, California and

has a 99-year lease on Bos Landen Golf Club in Pella, Iowa; Warrior Golf Management LLC

(“Warrior Golf Management”) owns Boardmoor Golf Links in Fletcher, North Carolina; Warrior

Golf Assets LLC (“Warrior Golf Assets”) owns Lakota Canyon Ranch Golf Club in New Castle,

Colorado and holds a note on the sale of the Lakota Recreation Center in the original principal

amount of $1,650,000; Warrior Premium Properties LLC (“Warrior Premium Properties”) owns

Limestone Springs Golf Club in Oneonta, Alabama; and Warrior ATV Golf LLC (“Warrior ATV

Golf”) owns vacant land in Moreno Valley, California, each a California limited liability

company and collectively referred to herein as “Residual LLCs” and each of their courses is

collectively referred to as the “Residual Courses”.

         14.      As part of the 2017 restructuring described in more detail below, the parties

intended to have the Residual LLCs transfer the Residual Courses to Warrior Golf in exchange

for a ratable portion of a note related to the ascribed value of each Residual Course. This portion

of the 2017 restructuring was not fully consummated. As a result, the Residual LLC’s continue

to retain the Residual Courses. Further complicating matter, although the Residual LLC’s never

transferred the Residual Courses, certain of the Residual LLCs, namely: Warrior Golf



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Development, Warrior Golf Venture LLC, Warrior Premium Properties and Warrior ATV Golf

(collectively, the “Dissolved Debtors”) purported to dissolve under California law while they

still owned their courses. Each of the Dissolved Debtors filed both Certificates of Dissolution

and Certificates of Cancellation under California law.

         15.      I have been informed by counsel to the Debtors that Section 17707.06 of the

California Corporate Code entitled “Continuation of limited liability company for specified

purposes” provides as follows:

                  A limited liability company that has filed a certificate of
                  cancellation nevertheless continues to exist for the purpose of
                  winding up its affairs, prosecuting and defending actions by or
                  against it in order to collect and discharge obligations, disposing of
                  and conveying its property, and collecting and dividing its assets.
                  A limited liability company shall not continue business except so
                  far as necessary for its winding up. A limited liability company
                  that has filed a certificate of cancellation nevertheless continues to
                  exist for the purpose of winding up its affairs, prosecuting and
                  defending actions by or against it in order to collect and discharge
                  obligations, disposing of and conveying its property, and collecting
                  and dividing its assets. A limited liability company shall not
                  continue business except so far as necessary for its winding up. A
                  limited liability company that has filed a certificate of cancellation
                  nevertheless continues to exist for the purpose of winding up its
                  affairs, prosecuting and defending actions by or against it in order
                  to collect and discharge obligations, disposing of and conveying its
                  property, and collecting and dividing its assets. A limited liability
                  company shall not continue business except so far as necessary for
                  its winding up.

         16.      To effectuate the “winding up” of their affairs, including potentially prosecuting

and defending actions, disposing and conveying property, and collecting and dividing assets

(including estate owned causes of action), I have caused the Dissolved Debtors to seek the

protection of this Court. Toward that end, the Residual LLCs (including the Dissolved Debtors)

may seek to effectuate the transfer of the Residual Courses to Warrior Golf as contemplated by

the parties to the 2017 restructuring for the purpose of effecting an equitable distribution of the


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value of all of the golf courses to holders of allowed claims. If the Debtors ultimately seek such

authority from the Court, then they will file the appropriate noticed motion(s) with the Court in

the future.

C.       Westwind Entity

         17.      Westwind, a Texas corporation, was created to serve as the timesharing

association for the development known as Westwind Manor in Runaway Bay, Texas. The sole

shareholder of Westwind is Warrior Acquisitions. Before the Petition Date, Flaherty, Aaron

Mun, Walter Bolen and Wheelahan were the members of the board of directors of Westwind. In

contemplation of the filing of the Chapter 11 cases, however, Flaherty appointed three (3)

independent directors –Russell F. Nelms (ret.), Kevin Lantry and David Gordon – to serve as the

board of directors for Westwind. As of the Petition Date, Westwind may still own certain time

share real property interests in Texas.

D.       The 2017 Restructuring Transactions

         18.      The genesis of the Warrior golf course ownership and management business dates

back to approximately 2005, when various Warrior entities decided to raise money from

investors for the purchase of golf courses. They marketed the investment opportunity to the

customers of Warrior Custom Golf through various private placement memoranda. From 2005

to 2014, they raised over $100 million from approximately 2,200 different investors by selling

interests in twelve (12) limited liability companies (the “Original LLCs”), each formed to acquire

and manage one or more golf courses. Those investments were memorialized by Subscription

Agreements. Based on information conveyed to me by the Debtors, (i) roughly 75% of the

money raised from investors was used to fund the acquisition of twenty-two (22) golf courses

(the “Golf Courses”), and (ii) the balance of the investment dollars were used in accordance with

the Subscription Agreements to pay fees and expenses in connection with the equity raise and to

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fund administrative and operational expenses, and working capital needs at each LLC’s own

Golf Courses and potentially at other Golf Courses.

         19.      The golf course ownership and management business generally operated at a loss

and ultimately experienced severe liquidity constraints. In 2016, Flaherty was physically absent

from the Debtors while he recovered from serious health issues. It is my understanding that the

golf course business suffered in Flaherty’s absence. Upon returning to work, Flaherty was faced

with the daunting task of managing two (2) distressed businesses and attending to his health.

Given the state of disarray of the Debtors’ custom club business and golf course business as well

as the marked decline in general golf industry conditions and course values during that same

time period, in or about August 2017, the Warrior entities implemented a plan designed to

recognize the decline in real estate value of the golf courses and, contemporaneously, consolidate

and simplify the capital structure.

         20.      Based on information conveyed to me by the Debtors, Warrior’s objective was to

convert the more than $100 million of equity investments in the LLCs to $40 million of

promissory notes to be issued by Warrior Golf as the intended purchaser of the Golf Courses.

The $40 million of promissory notes were guaranteed by Warrior Custom Golf. The apparent

plan was for each of the LLCs to transfer its assets to Warrior Golf in exchange for a ratable

portion of the $40 million promissory note “Note”) that would be fractionalized and delivered

ratably to the underlying investors in each LLC. The $40 million exchange price for the Golf

Courses was determined based upon a presentation by Marcus & Millichap2 that estimated the

value of the Golf Courses and other real estate assets owned by the LLCs at approximately

$33 million. A twenty percent (20%) mark-up was then placed on the estimated value of the real

2
 The Marcus & Millichap presentation included indications of value for the Debtors’ golf course and related assets,
but was not a formal appraisal.


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property giving rise to $40 million of Notes. After the transfer of each LLC’s assets to Warrior

Golf in exchange for a portion of the Notes, the restructuring contemplated that each LLC would

first “cancel” their fractional Note, second distribute pro rata interests in the (canceled) Note to

its members in the form of Pro Rata Promissory Notes in an amount equal to each member’s

percentage equity in each LLC multiplied by the value of the LLC’s assets as indicated in the

Marcus & Millichamp materials, and third each LLC would then dissolve. In actuality, (i) each

LLC (other than the Residual LLCs) transferred its assets to Warrior Golf, (ii) each LLC

received its fractional Note, (iii) each LLC transferred fractional Pro Rata Promissory Notes to

its members, and (iv) then various LLCs dissolved, including the Dissolved Debtors even though

the Dissolved Debtors continued to hold title to their real property assets.3

III.     The Debtors’ Capital Structure4

A.       Warrior Custom Golf

         21.      Warrior Custom Golf does not have any funded secured debt obligations. Warrior

Custom Golf utilizes a broad range of vendors to provide materials to manufacture golf clubs and

otherwise operate its manufacturing business. Based on results of initial lien searches, Warrior

Custom Golf may have financed certain equipment that is secured by a lien on that equipment.

As of the Petition Date, the Warrior Custom Golf’s aggregate accounts payable to vendors is

approximately $630,000.

         22.      Warrior Custom Golf is a guarantor of the $40 million of Pro Rata Promissory

Notes. It appears that based on its status as a guarantor of the Pro Rata Promissory Notes a


3
 It appears that from November 2018 through January 2019, the Debtors tried to record deeds transferring certain
properties to Warrior Golf. Those deeds, however, were returned as being defective and were never corrected.
4
 The Debtors do not concede that any liens (contractual, common law, statutory or otherwise) described in this
Declaration are valid, and the Debtors expressly reserve the right to contest the extent, validity, priority, perfection,
or possible avoidance of all alleged liens.


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default judgment in the amount of $1.3 million in favor of Cecil Mellinger was entered in Florida

against Warrior Custom Golf on December 19, 2018 (the “Default Judgment”). Additionally,

Warrior Custom Golf is an obligor on three (3) Lump Sum Payment Promissory Notes in favor

of Anthony Ivankovich in the aggregate principal amount of $2 million.

B.       Golf Course Business

         23.      The majority of the Debtors’ golf courses are unencumbered. Six (6) of the golf

courses, however, are encumbered with consensual liens and/or an assignment of rents as

follows:

 Property/ Debtors            Lender          Principal             Security/Collateral                Balance


Broadmoor Golf          Broadmoor Group,      $2,000,000   i)   Deed of Trust                         $1,300,000
Links                   Inc., Albert Ronald
                        Smoak and Zoe
(Warrior Golf           Anne Smoak
Management, LLC)

Cimarron Golf Resort    Citizen Business      $2,000,000   i) Deed of Trust, Assignment of            $2,000,000
                        Bank                               Rents and Hazardous Substances
(Warrior Golf                                              Certificate and Indemnity Agreement;
Equities, LLC and
Warrior Golf LLC, as                                       ii) All personal property including
borrowers, Warrior                                         but not limited to all equipment,
Acquisitions, LLC, as                                      fixtures and other articles of personal
guarantor)                                                 property owned by Debtor or
                                                           attached/affixed to the property located
                                                           at 67603 30th Ave., Cathedral City, CA
                                                           92334; all records of any kind relating
                                                           to any of the foregoing.” as to Warrior
                                                           Golf, LLC.

Lakota Canyon           ANB Bank              $1,500,000   i) Deed of Trust, concerning vacant        $1,500,000
Ranch Golf Club                                            land, New Castle, Co. 81647

(Warrior Golf Assets,                                      ii) Deed of Trust, concerning 1000
LLC, Warrior                                               Clubhouse Dr., New Castle, CO 81647
Acquisitions)
                                                           iii) Collateral Assignment,
                                                           concerning Colorado River Water
                                                           Supply Contract No. CW03003, as
                                                           amended

                                                           iv) All goods now or in the future



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                                                            affixed or attached to real estate.

Huntington Golf         Marion Oaks           $625,000      i)   Mortgage Deed                      $509,906
Club5                   Country Club Inc.     for each                                              for each
                                              property
Marion Oaks Golf
Club

(Warrior
Acquisitions, LLC)

         24.      Additionally, based on results of initial lien searches, certain parties have

purportedly filed general liens against the Debtors relating to the finance of equipment, leases of

equipment and operations of the golf course management business.

         25.      The balance of the debt owed in connection with the golf course ownership and

management business is unsecured. As of the Petition Date, the aggregate accounts payable to

vendors is approximately $1,390,000. Additionally, Warrior Golf is the borrower under the $40

million of Pro Rata Promissory Notes and is also subject to the Default Judgment.

         26.      Finally, in 2016 and 2017, Warrior Acquisitions raised an additional $5.5 million

from investors through the issuance of Convertible Promissory Notes (the “Convertible Notes”).

The capital raised through the issuance of the Convertible Notes initially was intended to fund

efforts to become a publicly traded company. Those efforts, however, were abandoned in 2017.

As of the Petition Date, $5.5 million remains outstanding on the Convertible Notes.                        The

Convertible Notes provide that they are convertible into equity of Warrior Acquisition LLC or its

successor in April 2019.         Warrior Acquisition LLC is evaluating the ramifications of this

conversion feature.




5
  While the Debtors are unable to locate copies of the Huntington Golf Club loan or lien documents, upon
information and belief, the form of such documents are substantially similar to those for Marion Oaks Golf Club.


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IV.      Events Leading to Chapter 11 Cases and Need for Relief

         27.      The Debtors, like many other entities in the golf industry, have faced a

challenging environment over the last several years. In general, there has been a nationwide

downturn in the golf industry caused by, among other things, an overall decline in the number of

players, an increase in cost of water and labor to operate golf courses, an overabundance of golf

courses, escalating labor costs and the increasing price of equipment. Complicating matters

further, poor weather across the United States in 2018 and the beginning of 2019 resulted in

significantly fewer rounds of golf played and ultimately the closure of significant portions of the

Debtors’ most profitable golf course, Cimarron Golf Resort, at its most profitable time of the

year due to flooding. Those external factors, coupled with Debtors’ obligations under its debt

instruments, contributed to the Debtors’ overall liquidity constraints.

         28.      In addition, the Debtors have been negatively impacted by a lack of management

depth and professional financial support. The Debtors, operating without a financial officer,

lacked financial controls and the ability to recognize and mitigate their economic distress. As a

result, the Debtors were unable to meet certain of their imminent expenses. For example,

Warrior Golf failed to make a $500,000, semi-annual interest payment on March 1, 2019 on

account of the Pro Rata Promissory Notes and simply does not have the liquidity to honor its

obligations under those notes.

         29.      Further contributing to the urgency of the Chapter 11 Cases is the entry of the

Default Judgment against Warrior Custom Golf and Warrior Golf. The Twelfth Judicial Circuit

Court in and for Manatee County, Florida required Warrior Custom Golf, Warrior Acquisitions

and Warrior Golf to post collateral in the aggregate amount of $1.3 million by March 4, 2019 to

allow a stay of the execution of the Default Judgment while Warrior Custom Golf, Warrior

Acquisitions and Warrior Golf pursue a vacatur of the judgment. The Debtors lacked sufficient

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funds to post the full amount of $1.3 million while they challenge the default judgment and, thus,

the appropriate option was to file bankruptcy to prevent further execution on the Default

Judgment, preserve their businesses as a going concern and avoid the preferential judgment lien

filed against the Royal St. Augustine Golf Club in St. Augustine, Florida, owned by Warrior

Golf.

         30.      These Chapter 11 cases will provide the Debtors with access to funds through

debtor in possession financing so that they can maximize value of their assets while seeking to

reorganize their businesses. The Debtors intend to stabilize their operations, pursue initiatives to

rationalize business expenses, conduct a forensic analyses of the Debtors’ historical financial

transactions and maximize the value of both the golf course business and the custom club

business for the benefit of all stakeholders.

V.       First Day Motions6

         31.      Contemporaneously with the filing of their chapter 11 petitions, the Debtors have

filed the First Day Motions seeking relief that is necessary to enable them to transition smoothly

into chapter 11 and to minimize disruptions to their business operations. I respectfully submit

that the relief requested in each First Day Motion should be granted because such relief is critical

to stabilize and facilitate the Debtors’ operations during the pendency of the Chapter 11 Cases.

A summary of the relief requested in each First Day Motion is provided below.

         32.      I have reviewed each of the First Day Motions and confirm that all the facts set

forth therein are true and correct to the best of my knowledge and belief, based upon my personal

knowledge of the Debtors’ businesses, employees, operations, and finances; information

obtained from my review of relevant documents; my discussions with members of the Debtors’

6
 Capitalized terms used but not defined in this section of this Declaration shall have the respective meanings
ascribed to those terms in the relevant First Day Motion.


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senior management and advisors; information provided to me by Force 10 personnel working

under my supervisions; or my opinion based upon experience, knowledge, and information

concerning the Debtors’ businesses.

A.       Administrative and Procedural Motions

         33.      Joint Administration Motion. I believe the joint administration of these cases will

avoid the unnecessary time and expense of duplicative motions, applications, orders and other

pleadings and related notices that otherwise would need to be filed in each separate case. I

believe that joint administration also will save considerable time and expense for the Debtors, the

Clerk of the Court, the U.S. Trustee and other parties in interest, which, in turn, will result in

substantial savings for the Debtors’ estates. I do not believe that the rights of the Debtors’

creditors will be adversely affected by joint administration of the Chapter 11 Cases.

         34.      Application to Appoint Claims and Noticing Agent. The retention of Donlin

Recano is the most effective and efficient manner of noticing creditors and parties in interest of

the filing of the Chapter 11 Cases and of other developments in the Chapter 11 Cases. I am

informed that Donlin Recano has acted as the claims and noticing agent in numerous cases of

comparable size. Donlin Recano’s retention to act as an agent of the Court, as an independent

third party with significant experience in this role, is in the best interests of the Debtors as well

as their estates and creditors.

         35.      Motion to Extend Time to File Schedules and Consolidate Creditors. Due to the

(a) size and scope of the Debtors’ business, (b) the complexity of their financial affairs, (c) the

limited staffing available to perform the required internal review of their accounts and affairs and

(d) the Debtors’ focus of their attention on initial bankruptcy filing matters, the Debtors will not

be able to assemble the information necessary to complete and file the schedules and statements

of financial affairs by the applicable deadline.

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         36.      The Debtors, while separate legal entities, have a large number of common

creditors and a centralized cash management system. Filing separate Top 20 Lists and separate

creditor matrices in their respective cases would generate a variety of lists with a large number of

duplicate entries. Consolidating the list of creditors is in the best interests of the Debtors, their

estates and creditors to avoid unnecessary duplication and to ensure administrative efficiency.

B.       Operational Motions

         37.      Motion to Provide Adequate Assurance for Utilities. In order to operate their

businesses, the Debtors rely on various utility services throughout the country. Uninterrupted

utility services are essential to the Debtors’ continued operations. Should any Utility Company

alter, refuse or discontinue service, even for a brief period, the Debtors’ business operations

could be severely disrupted and the value of their golf courses could be severely damaged,

jeopardizing the Debtors’ reorganization efforts.      It is, therefore, essential that the Utility

Services continue uninterrupted.

         38.      On average, before the Petition Date, the Debtors spent approximately $113,000

each month on account of Utility Services. I believe that the Debtors’ monthly utility costs

going forward will be substantially similar for the Chapter 11 Cases. The Debtors have proposed

to deposit $57,000 in a segregated account, which represents an amount equal to approximately

one half of the Debtors’ average monthly cost of Utility Services, calculated based on the

Debtors’ average utility expenses during the 2018 calendar year, net of any prepetition deposits,

letters of credit, or surety bonds provided to the Utility Companies in the ordinary course, if any.

         39.      Motion for DIP Financing. Before the Petition Date, the Debtors conduced a

search to identify potential lenders to provide DIP Financing to the Debtors. Force 10 reached

out to over 10 potential DIP lenders that might be interested in providing DIP Financing of

between $1.5 million and $5 million and I had lengthy calls with five interested potential DIP

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lenders to discuss the Debtors’ needs, anticipated timing for a chapter 11 filing, the Debtors’

business operations and their asset base. After this search, the Debtors concluded that no other

party could provide financing on more favorable terms than those provided by Warrior Golf

Loan Investors, LLC (the “DIP Lender”). Notwithstanding the name of this newly created

entity, I am not aware of any prior relationship between the DIP Lender and the Debtors or

Flaherty. The DIP Financing provides the Debtors with access to up to $2.5 million on the terms

set forth in the DIP Credit Agreement.

         40.      The Debtors require immediate access to liquidity to ensure that they are able to

continue operating during these chapter 11 cases and preserve the value of their estates for the

benefit of all parties in interest. As of the Petition Date, the Debtors’ total cash available is

insufficient to operate their businesses and continue paying their debts as they come due.

Without prompt access to postpetition financing, the Debtors will be unable to pay wages for

their employees, pay vendors to supply necessary goods and services, preserve and maximize the

value of their estates, and administer these chapter 11 cases, causing immediate and irreparable

harm to the value of the Debtors’ estates to the detriment of all stakeholders.

         41.      Motion to Continue Cash Management System. The Debtors have filed a motion

to continue their ordinary course banking practices. I understand that the Debtors maintain a

cash management system, comprised of 74 bank accounts. Continued use of the Bank Accounts

facilitates the efficient flow and management of funds involved in the Debtors’ operations.

Maintaining the Cash Management System is in the best interest of the Debtors and their estates.

         42.      In the ordinary course of business, the Debtors may use a number of checks,

business letterhead, purchase orders, invoices, envelopes, promotional materials and other

business forms and correspondence (collectively, the “Business Forms”).                Given that the



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Business Forms were used prepetition, they do not include references to the Debtors’ current

status as debtors-in-possession. Most parties doing business with the debtors will be aware of

the Debtors’ status as debtors-in-possession. As is the case with the existing Cash Managements

System, requiring the Debtors to change existing Business Forms would unnecessarily distract

the Debtors from their restructuring efforts and impose needless expenses on the estate, without

any meaningful corresponding benefit.

         43.      Motion to Pay Prepetition Employee Wages. Warrior Custom Golf employs

approximately 110 individuals including a team of master golf club builders, customer service

representatives and telemarketing personnel. Warrior Acquisitions employs approximately 270

individuals located in approximately 10 states related to the operations and management of the

Debtors' golf courses. Warrior Custom Golf Employees are paid wages, salaries, and other

compensation on a weekly basis. Warrior Acquisitions Employees are paid wages, salaries, and

other compensation on a bi-weekly basis. As of the Petition Date, the Debtors estimate they owe

approximately $275,000 to Employees on account of all accrued but unpaid wages, salaries,

overtime, and other compensation earned before the Petition Date and such amount will be due

to employees on Friday, March 8, 2019. In addition to wages, the Debtors offer an employee

benefits package to eligible Employees for medical, dental, and vision care coverage and certain

other benefits.

         44.      Employees will be exposed to significant financial difficulties if the Debtors are

not permitted to honor obligations for unpaid Employee Compensation and Benefits.

Additionally, continuing ordinary course benefits will help maintain Employee morale and

minimize the adverse effect of the commencement of these chapter 11 cases on the Debtors'

ongoing business operations.



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         45.      Motion to Honor Customer Programs. Prior to the Petition Date, and in the

ordinary course of their business, the Debtors engaged in a variety of marketing and sales

practices designed to develop and sustain customer satisfaction and loyalty (collectively, the

“Customer Programs”).         The Customer Programs include, without limitation, Gift Cards,

Memberships, Refund Programs, Reward Cards, and Pre-Paid Rounds of Golf. The goal of the

Customer Programs is to meet competitive pressures, ensure customer satisfaction and generate

goodwill for the Debtors, thereby retaining current customers, attracting new customers, and

ultimately enhancing loyalty and sales among the Debtors’ existing customer base.

         46.      Authorizing the Debtors to pay prepetition amounts due on account of, and honor

prepetition commitments pursuant to, the Customer Programs will allow the Debtors’ operations

to continue without interruption during the pendency of these chapter 11 cases. The Debtors’

failure to honor the Customer Programs likely would lead to the loss of customer satisfaction,

resulting in reduced future sales, deterioration of goodwill, and irreparable harm to the Debtors’

online reputation and their businesses and revenues more generally.

         47.      Accordingly, I believe that the relief requested therein is in the best interests of

the Debtors, their estates, and creditors and should be approved.

VI.      Conclusion

         48.      This Declaration describes the factors that have precipitated the commencement

of the Chapter 11 Cases and demonstrates the need for the Debtors to obtain the relief requested

in the First Day Motions.




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         49.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to the best

of my knowledge and after reasonable inquiry, the foregoing is true and correct.


Dated: March 4, 2019
       Irvine, California


                                                              /s/ Jeremy Rosenthal
                                                       Name: Jeremy Rosenthal
                                                       Title: Chief Restructuring Officer




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                 OPERATIONAL ORGANIZATIONAL CHART

                                  3 Independent Directors


                                              CRO

WARRIOR CUSTOM                                                              WARRIOR ACQUISITIONS, LLC
                           WESTWIND MANOR RESORT ASSOC., INC.
   GOLF, INC.                                                                       (Managing entity)


                                                                     WARRIOR GOLF, LLC

                                                                WARRIOR GOLF VENTURE, LLC

                                                              WARRIOR GOLF MANAGEMENT, LLC

                                                             WARRIOR PREMIUM PROPERTIES, LLC

                                                                 WARRIOR GOLF ASSETS, LLC

                                                                   WARRIOR ATV GOLF, LLC

16989413.5                                                    WARRIOR GOLF DEVELOPMENT, LLC
